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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA

  v.                                   Case No. 3:23-cr-147-MMH-JBT

  SCHUYLAR QUINTON WILLIS
  ________________________________________________________________________

             UNOPPOSED MOTION TO CONTINUE SENTENCING
                     AND MEMORANDUM OF LAW

        The Defendant, SCHUYLAR QUINTON WILLIS, by and

  through his undersigned attorney, files this Unopposed Motion to

  Continue the Sentencing set for May 28, 2024, at 10:30 a.m. and states

  the following:

        1.     On May 14, 2024, counsel received notification that the

               Sentencing set for May 20, 2024, had been rescheduled for

               May 28, 2024, at 10:30 a.m.

        2.     Counsel has a previously scheduled medical procedure set

               for all day on May 28, 2024 and will be unavailable to appear

               at the Sentencing.

        3.     Counsel requests the Sentencing be reset to an alternative

               date and time to accommodate the aforementioned medical

               procedure.



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        4.    Ashley Washington, AUSA, indicates no opposition to this

              motion.

        5.    This motion is not made for the purpose of unduly delaying

              the proceedings herein.

                           MEMORANDUM OF LAW

        A continuance may be allowed by order of the Court for good cause

  shown. See Local Rule 3.08.

        WHEREFORE, Counsel requests that this Honorable Court

  continue the currently scheduled sentencing to a day and time that all

  parties are available.

        Dated: May 14, 2024.

                                            A. Fitzgerald Hall, Esq.
                                            Federal Defender, MDFL

                                            /s/ Kathryn Sheldon, Esq.
                                            Kathryn Sheldon, Esquire
                                            Assistant Federal Defender
                                            Fla Bar Number 1019538
                                            200 West Forsyth Street
                                            Suite 1240
                                            Jacksonville FL 32202
                                            Telephone: 904-232-3039
                                            Facsimile: 904-232-1937
                                            Kathryn_sheldon@fd.org




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                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that undersigned electronically filed the
  foregoing Motion to Continue Sentencing and Memorandum of Law with
  the Clerk of Court (CM/ECF) by using the CM/ECF system which will
  send a notice of electronic filing to all counsel of record, this the 14th day
  of May 2024.


                                               /s/Kathryn Sheldon, Esquire
                                               Assistant Federal Defender




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